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                           UNITED STATES BANKRUPTCY COURT
                       FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 IN RE:                                         )       Chapter 13
                                                )
 ROBERT H. BRYNILDSEN,                          )
                                                )       Case No. 16-10842-pmm
                         Debtor.                )


 MOTION OF DEBTOR TO AMEND ORDER TO SELL FREE AND CLEAR OF LIENS

          Debtor Robert H. Brynildsen, by and through his undersigned counsel Mark A. Cronin,

 Esquire, hereby moves this Honorable Court to amend the Order dated December 10, 2020 to sell

 free and clear pursuant to 11 U.S.C. §363(f) (Docket # 155) to include payment of judicial liens at

 settlement to reflect the modified Chapter 13 plan filed on January 6, 2021 and, in support of this

 motion, Debtor avers as follows:

          1.   The Debtor filed a Petition under Chapter 13 of the Bankruptcy Code with this Court

 under the above-captioned case number on February 9, 2016. The Trustee in the case is Scott F.

 Waterman.

          2.   On December 12, 2019, this Honorable Court confirmed the Debtor's Sixteenth

 Amended Chapter 13 plan which was essentially a "sale plan" to sell unimproved realty to pay tax

 claimants, secured creditors and administrative claimants.

          3.   Debtor entered in an Agreement of Sale of approximately 11 acres of real property

 located in Bath, Pennsylvania for $270,000.00 with one Anthony Maula, a real estate developer, back

 on April 29, 2019. Settlement is scheduled on or before February 25, 2021.

          4.   On December 10, 2020, this Honorable Court granted debtor's motion to sell free and

 clear of liens pursuant to 11 U.S.C. §363(f) and entered an Order that pays all the tax liens and other

 settlement costs (Docket #155).
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        5.   On January 6, 2021, the Debtor filed a modified Chapter 13 plan which, among other

  things, seeks to pay all the judicial liens totaling $42,828.05 at settlement rather than through the

  Chapter 13 plan. All the tax claims are being paid at closing and, consequently, it is logical to pay

  all the judicial liens as well at settlement with the Standing Chapter 13 Trustee receiving sufficient

  funds stated in the modified plan, namely, $53,229.04 that would pay unsecured claims as well as

  administrative claims.

        6.     Consequently, Debtor requests that this Honorable Court amend the Order to sell free

  and clear of liens entered on December 10, 2020 (Docket #155) to reflect the modified plan and to

  pay the judicial lien holders in this case at settlement rather than through the Chapter 13 plan.

        WHEREFORE, Movant prays that this Honorable Court amend its Order (Docket #155) to

  reflect the modified Chapter 13 plan and pay judicial lien holders along with all the tax lien holders

  at closing of the sale and paying the Standing Chapter 13 Trustee $53,229.04 for all the remaining

  claims in this case and that the Court grant such further relief as would be equitable and just.



                                                         Respectfully submitted,


 Dated: January 22, 2021                                 By:/s/Mark A. Cronin___________
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